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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   METRC, INC., and METRC ID, LLC,

         Plaintiffs,

         v.                                          Case No. 8:24-CV-01252
   MARCUS ESTES,
         Defendant.


   DEFENDANT’S MOTION TO AMEND ORDER TO CERTIFY FOR
      INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b)
     AND TO STAY ACTION PENDING APPELLATE REVIEW,
         AND INCORPORATED MEMORANDUM OF LAW

        Defendant MARCUS ESTES (“Defendant”), through undersigned counsel,

  respectfully requests that this Court amend its August 1, 2024 Order denying

  Defendant’s Motion to Dismiss Plaintiffs’ Complaint for Lack of Personal

  Jurisdiction (D.E. 19 and 20) to certify the jurisdictional question for

  interlocutory review under 28 U.S.C. § 1292(b). This Court should amend and

  certify the Order because it involves “controlling question[s] of law as to which

  there [are] substantial ground for difference of opinion,” and an immediate

  appeal from the Order “may materially advance the ultimate termination of the

  litigation.” 28 U.S.C. § 1292(b). Defendant also requests that this Court enter an

  order staying this action pending appellate review of the Order. In support of this

  motion, Defendant submits the following memorandum of law.


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                             MEMORANDUM OF LAW

        Under 28 U.S.C. § 1292(b), this Court is authorized to “certify an

  interlocutory order for appeal if the order (i) involves a controlling question of

  law; (ii) as to which there is substantial ground for difference of opinion, and (iii)

  an immediate appeal from the order may materially advance the ultimate

  termination of the litigation.” Harris v. Luckey, 918 F.2d 888, 892 (11th Cir.

  1990). This Court should certify the Order because it meets the criteria under

  section 1292(b). The question of whether Defendant is subject to this Court’s

  jurisdiction is, by its very nature, a “controlling question of law.” If the Eleventh

  Circuit were to disagree with this Court on this legal question, the litigation will

  end. As the parties’ briefs and this Court’s order make clear, there are substantial

  grounds for difference of opinion on this question. And, because a determination

  in Defendant’s favor would terminate this action, there is no question that an

  immediate appeal may materially advance the ultimate termination of the

  litigation. This Court should also stay the proceedings before this Court pending

  appellate review.

  I.    The Order Involves A Controlling Question Of Law Concerning

  Whether Defendant Is Subject To This Court’s Personal Jurisdiction.

        This Court’s conclusion that Defendant is subject to personal jurisdiction is

  a question of law. Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1217

  (11th Cir. 2009) (“We have consistently held that the issue of whether personal

  jurisdiction is present is a question of law and subject to de novo review.”). That



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  question of law is “controlling” under section 1292(b) because reversal of the

  Order would terminate the action. Klinghoffer v. S.N.C. Achille Lauro, 921 F.2d

  21, 24 (2d Cir. 1990) (“[I]t is clear that a question of law is ‘controlling’ if reversal

  of the district court’s order would terminate the action.”); see also Katz v. Carte

  Blanche Corp., 496 F.2d 747, 754 (3d Cir. 1974) (“A controlling question of law

  must encompass at the very least every order which, if erroneous, would be

  reversible error on final appeal.”). Moreover, the Order involves a controlling

  question of law because “it could cause the needless expense and delay of

  litigating an entire case that has no power to decide the matter.” Kuehner v.

  Dickinson & Co., 84 F.3d 316, 319 (9th Cir. 1996). Accordingly, the issue

  addressed in the Order is a controlling question of law under section 1292(b).

        Federal courts around the nation—including those within the Eleventh

  Circuit—routinely “grant[] certification when the order involve[s] issues of in

  personam and subject matter jurisdiction.” Klinghoffer v. S.N.C. Achille Lauro,

  921 F.2d 21, 24 (2d Cir. 1990); see also, e.g., ESAB Group, Inc. v. Centricut, Inc.,

  126 F.3d 617, 622 (4th Cir.1997) (addressing interlocutory appeal of order,

  certified by district court under § 1292(b), denying motion to dismiss for lack of

  personal jurisdiction); Army Times Publ’g Co. v. Watts, 730 F.2d 1398, 1398-99

  (11th Cir. 1984) (same); Cox Enters., Inc. v. Holt, 678 F.2d 936, 937 (11th Cir.

  1982) (same); GTE New Media Servs. Inc. v. Ameritech Corp., 44 F. Supp. 2d

  313, 317 (D.D.C. 1999) (certifying for interlocutory appeal an order denying

  motion to dismiss for lack of personal jurisdiction, and staying all proceedings



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  before the district court). In McFarlin v. Conseco Services, LLC, 381 F.3d 1251,

  1257 (11th Cir. 2004), while examining the legislative history behind § 1292(b),

  the court quoted the following paragraph from the Senate Judiciary Committee

  Report, S. Rep. No. 2424 (1958), which provides the following example of the

  type of situation Congress intended § 1292(b) to address:

        [I]n a recent case, a motion to dismiss for want of jurisdiction was filed in
        the district court early in the proceedings. The district court denied the
        motion and the matter then proceeded to trial. The disposition of that case
        took almost 8 months. Upon final order the case was appealed and the
        court of appeals determined that the district court did not have jurisdiction
        and entered an order accordingly. Had this legislation been in effect at that
        time, the district judge could have stated in writing his opinion that the
        motion was controlling and the defendant could thereupon have made
        application to the court of appeals for a review of the order denying the
        motion. Had the court of appeals entertained such a motion and reached
        the conclusion which it ultimately did, it would have resulted in a saving of
        the time of the district court and considerable expense on the part of the
        litigants.

  McFarlin, 381 F.3d at 1257 (quoting 1958 U.S.C.C.A.N. 5256). The court noted

  that this example involved a “potentially dispositive legal question[] collateral to

  the merits that might render unnecessary a lengthy trial.” Id. Thus, it is clear that

  the Order involves the very type of controlling question of law that justifies

  certification under section 1292(b).

  II.   There Are Substantial Grounds For Difference Of Opinion

        There are substantial grounds for a difference of opinion about whether the

  jurisdictional facts cited by the parties and set forth in the Order are legally

  sufficient to subject Defendant to this Court’s personal jurisdiction under the

  Florida Long Arm Statute. Even if this Court doubts that the Eleventh Circuit will



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  disagree with this Court’s conclusion on these issues, this Court should certify the

  jurisdictional question in the Order. “[I]f proceedings that threaten to endure for

  several years depend on an initial question of jurisdiction . . . , certification may

  be justified at a relatively low threshold of doubt.” 16 Charles Alan Wright, Arthur

  R. Miller & Edward H. Cooper, Federal Practice and Procedure § 3930, at 422 (2d

  ed. 1996).

         The Order states that personal jurisdiction over Defendant is proper under

  Florida Statute § 48.193(1)(a)(1), (2), and (7), and that such exercise of personal

  jurisdiction does not offend due process. 1 The corresponding questions therefore

  presented under the Order, which this Court should certify for immediate appeal,

  are discussed below.

         1. Florida Statutes Section 48.193(1)(a)(1).

         It is undisputed that all of Defendant’s contacts with Florida were in either

  his capacity as employee of Plaintiffs, or as CEO of Chroma. The Court concluded

  that these contacts were sufficient to bring Defendant within the reach of Fla.

  Stat. 48.193(1)(a)(1), which confers jurisdiction over someone who is “Operating,

  conducting, engaging in, or carrying on a business or business venture in this

  state or having an office or agency in this state.”




  1 In their complaint, Plaintiffs also assert that specific personal jurisdiction over

  Defendant exists under Florida Statutes Section 48.193(1)(a)(6), and that general
  jurisdiction also exists. The Order does not appear to address these assertions, and in
  their response to Defendant’s motion, Plaintiffs did not attempt to controvert
  Defendant’s argument that there is no basis for jurisdiction under Florida Statutes
  Section 48.193(1)(a)(6).

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        Left unaddressed in the Order, however, was the effect of the corporate

  shield doctrine, which provides that “personal jurisdiction does not extend over

  the individual capacity of a nonresident defendant when the defendant’s acts

  within the forum state are performed solely in the defendant’s capacity as a

  corporate employee for the benefit of a corporate employer.” Mainline Info. Sys.

  v. Fordman, 2011 US Dist. LEXIS 55698 (N.D. Fla. May 24, 2011). In Mainline, a

  Florida employer sued a former high-ranking employee who had worked for the

  company in Alabama, and district court granted the employee’s motion to

  dismiss for lack of personal jurisdiction based on the fact that “all of [the

  employee’s] business activities performed within Florida were done in his

  capacity as a corporate employee. Accordingly, this Court cannot use this

  subsection to establish jurisdiction over [the employee] in his individual

  capacity.” Id. at *8-9, see also Duncanson v. Wine & Canvas Dev., LLC, 2015 U.S.

  Dist. LEXIS 183785 (M.D. Fla. June 24, 2015), Kitroser v. Hurt, 85 So. 3d 1084,

  1088 (Fla. 2012) (holding that “a nonresident employee-defendant who works

  only outside of Florida, commits no acts in Florida, and has no personal

  connection with Florida will not be subject to the personal jurisdiction of Florida

  courts simply because he or she is a corporate officer or employee.”).

        Thus, the first question presented under the Order, which this Court

  should certify for immediate appeal, is whether a foreign defendant whose only

  contacts with Florida were as an employee of either the plaintiff, or a company




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  acquired by the plaintiff, is subject to personal jurisdiction in Florida under

  Florida Statutes Section 48.193(1)(a)(1).

        2. Florida Statutes Section 48.193(1)(a)(2).

        Section 48.193(1)(a)(2) specifies “Committing a tortious act within this

  state” as a basis for establishing specific jurisdiction. Analysis under this

  subsection requires courts “to ask first whether the complaints states a cause of

  action, and if so, whether the cause of action arises from the out-of-state

  communications into Florida.” Estate of Scutieri v. Chambers, 386 Fed. Appx.

  951, 954 (11th Cir. 2010).

               a. Failure to State a Claim for Tortious Interference.

        It is undisputed that Plaintiffs’ claims for tortious interference arise out of

  Defendant’s alleged defamatory statements to H and W. Specifically, Plaintiffs

  allege: “Defendant used his high-level position and influence and sent

  disparaging and false information regarding Metrc and the development of Retail

  ID to key contacts at W and H.” D.E. 1, ¶ 32. The specific content of this

  information is not alleged in the Complaint, and there is no way for this Court to

  independently verify whether it was, indeed, “disparaging” or “false.”

        Under Florida law – the “the single publication/single action rule” – a

  tortious interference claim predicated upon alleged defamatory statements must

  satisfy the same pleading criteria as a claim for defamation predicated upon those

  statements. See Ozyesilpinar v. Reach PLC, 365 So. 3d 453, 461 (Fla. 3d DCA

  2023); Samara v. Juice Plus+ Co., LLC, 2021 U.S. Dist. LEXIS 259065 (M.D. Fla.



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  March 1, 2021). Allegedly defamatory words “should be set out in the complaint

  for the purpose of fixing the character of the alleged libelous publication”

  although they need not necessarily be set up verbatim. Edward L. Nezelek v.

  Sunbeam TV Corp., 413 So. 2d 51, 56 (Fla. 3d DCA 1982). “[I]t is sufficient that

  the plaintiff set out the substance of the spoken words with sufficient

  particularity to enable the court to determine whether the publication was

  defamatory.” Id.

        In the Order, the Court appears to have analyzed the sufficiency of

  Plaintiffs’ pleading not under this standard, but rather under the “low bar” of

  FRCP 8(a). This approach is irreconcilable with that taken by the court in Jetaire

  Aero., LLC v. Aersale Inc., 2023 U.S. Dist. LEXIS 232937 (S.D. Fla. Nov. 28,

  2023), where the court, on its own initiative, dismissed a defamation claim with

  much more detailed allegations than alleged here.

        Thus, the second question presented under the Order, which this Court

  should certify for immediate appeal, is whether, in a claim for tortious

  interference predicated on allegedly defamatory statements, the substance of

  such statements must be alleged with particularity sufficient to enable the court

  to determine whether they were defamatory.

               b. Plaintiffs’ Claim is Not Alleged to Arise from an Out-of-

                  State Communication into Florida.

         Plaintiffs allege that they sustained injury in Florida as a result of

  Defendant’s allegedly defamatory communications with H and W, which are not



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  alleged to have occurred inside of, or into, Florida. Rather, H “is one of Canada’s

  leading cannabis infused product developers and producers,” and “W is a leading

  cannabis infused product developer and distributor, and holds a significant share

  of the United States cannabis edibles market.” D.E. 1 at ¶¶ 28, 29. Neither H nor

  W is alleged to have any connection with Florida, other than a business

  relationship with Plaintiffs.

        For personal jurisdiction to exist under Florida Statute Section

  48.193(1)(a)(2), “the cause of action [must] arise from the communication into

  the state[.]” Don King Prods. v. Mosley, 2016 U.S. Dist. LEXIS 188060, at *9

  (S.D. Fla. Jan. 26, 2016) (emphasis added). “The requirement that the cause of

  action arise from the communication into the state is necessary in order to satisfy

  the ‘connexity’ requirement of section 48.193(1).” Id., citing Wendt v. Horowitz,

  822 So. 2d 1252, 1260 (Fla. 2002); see also Consol. Energy, Inc. v. Strumor, 920

  So. 2d 829, 832 (Fla. 4th DCA 2006) (‘[M]ere injury in Florida resulting from a

  tort committed elsewhere is insufficient to support personal jurisdiction over a

  non-resident defendant.”).

        Here, because any communication Defendant is alleged to have had with H

  and W occurred outside of Florida, the connexity factor identified in Don King

  Prods. is lacking. However, in the Order, this Court held that “Count Three

  plausibly alleges a tort that caused injury within Florida to the alleged Florida

  victim.”




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         Therefore, the third question presented under the Order, which this Court

  should certify for immediate appeal, is whether, in a claim for tortious

  interference predicated on allegedly defamatory statements, those statements

  must be made into the state of Florida.

         3. Florida Statutes Section 48.193(1)(a)(7).

         Plaintiffs allege that payment under the Offer Letter was due in Florida,

  and the Order holds that this allegation is sufficient to invoke jurisdiction under

  section 48.193(1)(a)(7).

         However, other courts have held that that “the failure to pay money in

  Florida, standing alone, would not suffice to obtain jurisdiction over a

  nonresident defendant.” Global Satellite Commun. Co. v. Sarl Sudline, 849 So.

  2d 466, 469 (Fla. 4th DCA 2003). While the Defendant had some contacts with

  Florida as an employee, those contacts are insufficient to establish jurisdiction

  over Defendant, as explained above.

         Therefore, the fourth question presented under the Order, which this Court

  should certify for immediate appeal, is whether a former employee, whose only

  contacts with Florida were as an employee, and who is alleged to be obligated to

  pay money in Florida under an employment contract, is subject to specific

  jurisdiction in Florida under Florida Statutes Section 48.193.(1)(a)(7).

  III.   An Immediate Appeal May Materially Advance the Termination

         of the Litigation.




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        This element of § 1292(b), which is “closely tied to the requirement that the

  order involve a controlling question of law,” Pub. Interest Research Group of

  New Jersey, Inc. v. Hercules, Inc., 830 F. Supp. 1549, 1557 (D. N.J. 1993), is

  satisfied if “resolution of [the] controlling legal question would serve to avoid a

  trial or otherwise shorten the litigation,” McFarlin, 381 F.3d at 1259. Without a

  doubt, permitting an interlocutory appeal in this case would meet that purpose. If

  the Eleventh Circuit disagrees with this Court’s jurisdictional analysis, it will

  most likely direct a dismissal of the suit and thus avoid “extensive discovery,

  employment of expert witnesses, and investigation of numerous complex legal

  issues.” Max Daetwyler Corp. v. R. Meyer, 575 F. Supp. 280, 282 (E.D. Pa.

  1983). And any delay inherent in allowing the interlocutory appeal does not

  “outweigh the potential cost to the parties and th[is] [C]ourt if this matter

  proceeds to trial and is later dismissed by the Court of Appeals on jurisdictional

  grounds.” Id. at 282-83. Accordingly, such an appeal may materially advance the

  ultimate termination of this litigation.

  IV.   This Court Should Also Stay These Proceeding Pending

  Appellate Review.

        In addition to certifying the Order for immediate appeal under section

  1292(b), this Court should stay proceedings in this case pending appellate review

  in order to prevent the potential waste of court and party resources. See GTE, 44

  F. Supp. 2d at 317. Such a stay is contemplated by section 1292(b) upon the

  request of the party seeking certification of an order for interlocutory appeal.



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                                   CONCLUSION

        Defendant respectfully requests that this Court amend the Order to certify

  it for immediate appeal under 28 U.S.C. § 1292(b). The Order involves controlling

  jurisdictional questions about which there is substantial ground for difference of

  opinion, and an immediate appeal from the Order may materially advance the

  ultimate termination of the litigation. To prevent the potential waste of court and

  party resources, Defendant also requests that this Court stay further proceedings

  pending appellate review.

                     LOCAL RULE 3.01(g) CERTIFICATION

        Counsel for Defendant has conferred via e-mail with counsel for Plaintiffs

  concerning the relief requested in this motion and hereby certifies that Plaintiffs

  oppose this motion.

  DATED this August 9, 2024.             ANDREW DEWEESE, PC
                                          By: /s/ Andrew DeWeese
                                          Andrew DeWeese, Fla. Bar 0059925
                                          3055 SW Yeon Avenue, #527
                                          Portland, Oregon 97210
                                          andrew@andrewdeweese.com
                                          Telephone: (971) 303-0351
                                          Lead Counsel for Defendant




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                          CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on the date set forth below, I served the

   foregoing on the following individual(s) by the method indicated below:

        Edward B. Carlstedt                      _ X_ By CM/ECF
        Florida Bar No. 0136972                    X By E-Mail
        ecarlstedt@fordharrison.com                   By First Class Mail
        Nicholas S. Andrews                           By Facsimile
        Florida Bar No. 0105699                       By Hand-Delivery
        nandrews@fordharrison.com
        401 East Jackson Street, Suite 2500
        Tampa, Florida 33602
        Telephone (813) 261-7800
        Fax (813) 261-7899
        Attorneys for Plaintiff


  DATED this August 9, 2024.           ANDREW DEWEESE, PC

                                       /s/ Andrew DeWeese
                                       Andrew C. DeWeese
                                       Florida Bar No. 059925
                                       3055 NW Yeon Avenue, #527
                                       Portland, Oregon 97210
                                       Telephone: (971) 303-0351
                                       andrew@andrewdeweese.com
                                       Lead Counsel for Defendant




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